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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

ALLVOICE DEVELOPMENTS US, LLC, §
                               §
v.                             §                              NO. 6:09-cv-366
                               §
MICROSOFT CORPORATION.         §

                           MEMORANDUM OPINION & ORDER

       Before the Court is third-parties Advance Voice Recognition Systems, Inc. Douglas Holt,

Michael K. Davis, and Joseph Miglietta’s (collectively, “AVRS”) motion for protective order to limit

the scope of discovery sought in subpoenas issued and served by Plaintiff Allvoice Developments

US, LLC (“Plaintiff”) and Defendant Microsoft Corporation (“Defendant”) (Doc. No. 75). The

Court has concerns AVRS’s motion is not properly before this Court. See In re Clients and Former

Clients of Baron & Budd, P.C., 478 F.3d 670, 671 (5th Cir. 2007) (acknowledging proper court to

consider a motion to quash or modify a subpoena is the issuing court rather than the court where the

action is pending); Assoc. of Am. Physicians & Surgeons, Inc. v. Texas Med. Bd., No. 5:07-cv-191,

2008 WL 2944671 at *3 (E.D. Tex. July 25, 2008) (denying motion for protective order where

subpoena was issued by another court); Avance v. Kerr-McGee Chem. LLC, No. 5:04-cv-209, 2005

WL 5315654, at * 4 (E.D. Tex. Aug. 9, 2005) (same); see also Saxon Innovations, LLC v. Apple,

Inc., No. 6:08-cv-265, slip op. at 3 (E.D. Tex. Feb. 9, 2010) (holding motion in abeyance pending

further action by issuing court). It may be appropriate for AVRS to withdraw its motion and proceed

before the issuing court. Alternatively, the Court ORDERS the parties to provide by June 3, 2010,

supplemental briefing, limited to three substantive pages each, as to whether this motion is properly




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before the Court. The parties’ response, reply, and sur-reply deadlines are not affected by this order.



                    So ORDERED and SIGNED this 26th day of May, 2010.




                                                      ___________________________________
                                                                 JOHN D. LOVE
                                                      UNITED STATES MAGISTRATE JUDGE




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